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IN THE COURT OF COMMON PLEAS
FRANKLIN COUNTY, OHIO

ADRIANN MCcGEE, Admin. of the ) Case No.
Estate of LeDarren D. Mixon
c/o Marcus Sidoti, Esq. )
50 Public Sq., Ste. 1900
Cleveland, Ohio 44113 ) JUDGE
-VS-
)
CITY OF WHITEHALL
c/o Michael Bivins, City Attorney ) COMPLAINT FOR CIVIL RIGHTS
360 S. Yearling Road VIOLATIONS, WRONGFUL
Whitehall, Ohio 43213 ) DEATH, SURVIVORSHIP
CLAIM AND WANTON AND
And ) RECKLESS CONDUCT
RONALD L. CASTRO )
365 S. Yearling Road
Whitehall, OH 43213 ) (Jury Demand Endorsed herein)
And )
GARY A. BAKER, JR. )
365 S. Yearling Road
Whitehall, OH 43213 )
And )
JOSEPH A. DANZEY )
7240 East Main Street
Reynoldsburg Ohio, 43068 )
And )
CITY OF REYNOLDSBURG )
7232 E. Main Street
Reynoldsburg, Ohio 43068 . )
And )

John Doe 1-3 )
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Preliminary Statement.

1. This case challenges the gratuitous, excessive, and objectively unreasonable force
members of the Whitehall and Reynoldsburg Police Departments used against LeDarren
Mixon on or about January 5, 2018. It also challenges supervisors in the Reynoldsberg
and Whitehall Police Departments who proximately caused the excessive force when
they failed to supervise their subordinate officers. On January 5, 2018, LeDarren Mixon
was asleep in his bed when officers executed a “no knock” warrant and gained access to
the residence. Ledarren was sleeping in his bed next to his girlfriend who was eight
months pregnant at the time. The Defendant officer’s entered Mixon’s room while he was
asleep and unarmed where they proceeded to shoot him approximately 30 times. The
Defendant officers intentionally and deliberately violated the law, as well as their
operational rules, regulations, policies and procedures, during their execution of the
search warrant. All Defendants’ acts were clearly established violations of the United

States Constitution and Ohio law.

I. The Parties.
2. Plaintiff Adriann McGee is the duly appointed Administrator for the Estate of LeDarren
Mixon. Ms. McGee brings this action as the Administrator of the Estate of LeDarren
Mixon in her fiduciary capacity, for the benefit of the next of kin and heirs at law of
LeDarren Mixon. Ms. McGee was appointed as the Administrator for the Estate of

LeDarren Mixon on March 8, 2018 by the Franklin County Probate Court. Letters of
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Administration were issued to Ms. McGee in Franklin County Probate Court case
nunmber 590181. At all times relevant, and at the time of his death, LeDarren Mixon

was a resident of Franklin County, Ohio.

Defendant City of Whitehall, Ohio is a municipality organized under the laws of the State
of Ohio.

Defendant City of Reynoldsburg, Ohio is a municipality organized under the laws of the
State of Ohio.

Defendants Ronald Castro was at all times relevant to this action, a police officer
employed by the City of Whitehall at the Whitehall Police Department. Defendant
Castro is a “person” under 42 U.S.C. §1983 and at all times relevant to this case acted
under color of law. Defendant Castro is sued in his individual and official capacity.
Defendant Gary Baker was at all times relevant to this action, a police officer employed
by the City of Whitehall at the Whitehall Police Department. Defendant Baker is a
“person” under 42 U.S.C. §1983 and at all times relevant to this case acted under color of
law. Defendant Castro is sued in his individual and official capacity.

Defendant Joseph Danzey was at all times relevant to this action, a police officer
employed by the City of Reynoldsburg at the Reynoldsburg Police Department.
Defendant Danzey is a “person” under 42 U.S.C. §1983 and at all times relevant to this
case acted under color of law. Defendant Danzey is sued in his individual and official
capacity.

John Does 1-3 are the supervisor[s] responsible for the “flow team,” the officers involved
from the City of Whitehall and/or the officers involved from the City of Reynoldsburg

not yet known to Plaintiff.
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II. Facts.

On January 5, 2018, LeDaren Mixon was sleeping in his bedroom next to his pregnant
girlfriend.

Defendant officers, in the company of other officers’, were executing a “no knock”
search warrant at 5300 Great Oak Way in the early morning hours of January 5, 2018.
The named Defendant officers gained access to the room where Mr. Mixon was sleeping
next to his pregnant girlfriend.

Without announcing themselves, said Defendant officers approached the side of the bed
ultimately making their way to the foot of the bed where they shot Mr. Mixon
approximately 30 times while he was unarmed.

The named Defendant officers claimed to have a visual on Mr. Mixon while he was
unconscious and prior to announcing themselves as they gained access to his bedroom
and prior to shooting and killing him.

The Defendant officers could see that Mr. Mixon was unarmed and that there was an

additional occupant in the bed where he was sleeping.

III. First Cause of Action—42 U.S.C. §1983. Excessive Force

Plaintiff incorporates paragraphs 1 through 14 as if fully rewritten herein.

Mixon was unconscious, sleeping in his bed when Defendant Officers executed a “no
knock” search warrant and gained access into his upstairs bedroom during the morning
hours.

Mixon was unarmed as the Defendant’s entered his room and fatally wounded him while

acting under the color of law. In doing so they fired approximately 30 shots as Mixon

 

* Referenced as the “flow team”
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was lying in his bed. The Defendant Officers’ use of deadly force under such
circumstances violated clearly established law. Their use of force was excessive and
violated the Plaintiff's right to be free from the use of excessive force as guaranteed by
the Fourth Amendment.

IV. Second Cause of Action—42 U.S.C. §1983—Supervisory Liability.

Plaintiff incorporates paragraphs 1 through 17 as if fully rewritten herein.
The Defendant officers’ immediate supervisor(s) on scene failed to take appropriate steps
to supervise and control them.

V. Third Cause of Action—Wrongful Death.

Plaintiff incorporates paragraphs 1 through 19 as if fully rewritten herein.

Defendants’ actions caused the wrongful death of LeDarren Mixon. resulting in damages
recoverable under Ohio Revised Code §2125.02.

Ledarren Mixon is survived by his mother and two minor children.

Plaintiff Adriann McGee is the duly appointed administrator for the Estate of LeDarren
Mixon, Jr. and brings this action pursuant to Ohio Revised Code $2125.01 through
$2125.03.

LeDarren Mixon’s children and mother have suffered damages for the loss of his
services, in addition to the loss of support for his reasonably expected earnings, and the
loss of prospective inheritance to LeDarren Mixon’s heirs at law at the time of his death.
LeDarren Mixon’s children and mother have suffered damages for the loss of his society
over his life expectancy, including loss of companionship, consortium, care, assistance,

attention, protection, advice, guidance, counsel, instruction, training and education.
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LeDarren Mixon’s children and mother have suffered mental anguish caused by his
death, as well as mental anguish as a result of the circumstances surrounding his death.
At the time of LeDarren Mixon’s death, next of kin were fixed to the decedent in the
following relationships:

e D.L.M.— son; and

e L.M— son;

Reasonable funeral and burial expenses have been incurred.

VI. Fourth Cause of Action—Survivorship Claim.

Plaintiff incorporates paragraphs 1 through 28 as if fully rewritten herein.
LeDarren Mixon. experienced pre-death agony and conscious pain and suffering,
including extreme fright and multiple gunshot wounds that ultimately caused his death as
a direct and proximate result of Defendants’ actions.

VII. Fifth Cause of Action—Willful, Wanton, and Reckless Conduct.
Plaintiffs’ incorporate paragraphs | through 30 as if fully rewritten herein.
Defendants failed to exercise due care and acted in a willful, wanton, and reckless
manner.

Defendants conducted directly caused the wrongful death of LeDarren Mixon.

IIX. Sixth Cause of Action—42 U.S.C. §1983 Monell Claims
Against The Cities of Whitehall and Reynoldsburg

Plaintiffs incorporate paragraphs 1 through 33 as if fully rewritten herein.

It is the custom and practice of the Cities of Whitehall and Reynoldsburg not to properly

supervise, train, and discipline its officers.
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36. In addition to the constitutional violations committed by the aforementioned Defendants,
the official policies promulgated by the cities of Reynoldsburg and Whitehall were the
moving force behind, or actual cause of, the constitutional injury to the Plaintiff.

37. Additionally, the injuries sustained by the Plaintiff resulted from the ‘execution of the

cities policy or custom.

WHEREFORE, Plaintiff prays that this Court:
A. Award Plaintiffs compensatory damages in an amount to be shown at trial;
B. Award Plaintiffs punitive damages in an amount to be shown at trial;
C. Award Plaintiffs reasonable attorney’s fees, interest, costs and disbursements;

D. Grant Plaintiffs such additional relief as the Court deems just and proper.

Respectfully submitted,

/s/Marcus Sidoti

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Adriann McGee, Administrator of
The Estate of LeDarren Mixon., Deceased

 

Jury Demand
Plaintiff hereby demands a trial by jury as to all issues.

/s/Marcus Sidoti
MARCUS SIDOTI (0077476)
